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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

KENNETH KING and BEN KENNEDY        §
    Plaintiffs,                     §
                                    §
V.                                  §     CIVIL ACTION NO. 4:21-CV-1005
                                    §
                                    §
TEXAS A&M ENGINEERING               §
EXTENSION SERVICE                   §
      Defendant                     §
______________________________________________________________________________

                     DEFENDANT’S MOTION TO DISMISS
______________________________________________________________________________

TO THE HONORABLE AMOS L. MAZZANT, III:

       NOW COMES Defendant the Texas A&M Engineering Extension Service (“TEEX”), by

and through the undersigned Assistant Attorney General, and files its Motion to Dismiss, and

respectfully shows the Court as follows:

                                            I.
                                      INTRODUCTION

       Kenneth King and Ben Kennedy (“Plaintiffs”) filed a Complaint on December 29, 2021.

(Doc. 1). Plaintiffs allege that TEEX, as Plaintiffs’ employer, violated the Americans with

Disabilities Act (ADA), the Age Discrimination in Employment Act, and the Family Medical

Leave Act (FMLA) when TEEX terminated their employment in October of 2020.

       Plaintiff’s claims must be dismissed because:

       1.     Plaintiffs filed their complaint in the wrong venue;

       2.     Plaintiffs’ claims are barred by Eleventh Amendment Immunity; and

       3.     Plaintiffs fail to state a claim upon which relief may be granted.
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                                            II.
                                    STANDARD OF REVIEW

A.      Motion to Dismiss under Federal Rule 12(b)(3)

        “The district court of a district in which is filed a case laying venue in the wrong division

or district shall dismiss, or if it be in the interest of justice, transfer such case to any district or

division in which it could have been brought.” 28 U.S.C § 1406(a). Venue is “wrong” or

“improper” when it does not satisfy the requirements of 28 U.S.C §1391, which governs venue in

all civil actions brought in federal district courts. See Atl. Marine Const. Co. v. U.S. Dist. Ct. for

W. Dist. of Texas, 571 U.S. 49, 55, 134 S. Ct. 568, 577, 187 L. Ed. 2d 487 (2013). The case must

fall within one of 28 U.S.C. §1391(b)’s stated categories. If it does not, then it must be dismissed

or transferred under 28 U.S.C. §1406(a). Id. A civil action may be brought in (1) a judicial district

where any defendant resides or (2) a judicial district in which a substantial part of the events or

omissions giving rise to the claim occurred. 28 U.S.C. §1391(b). Only if neither of these applies

can a case be brought in a different district where the defendant is subject to personal jurisdiction.

Id. The court may transfer the cases to the appropriate venue, if such transfer would be in the

interests of justice. 28 U.S.C. §1406(a).

        “There is a split of authority among federal courts and in the Fifth Circuit with regard to

which party bears the burden of establishing venue on a Rule 12(b)(3) motion to dismiss for

improper venue.” Lawson v. United States Dep't of Just., 527 F. Supp. 3d 894, 896 (N.D. Tex.

2021), quoting Victory Renewables, LLC v. Energy Trading Co., LLC, No. 3:18-cv-00456-L (BT),

2019 WL 2539209, at *3 (N.D. Tex. Feb. 8, 2019), report and recommendation adopted sub nom.

Victory Renewables, LLC v. Energy Trading Co., LLC, No. 3:18-CV-456-L, 2019 WL 2540738

(N.D. Tex. Mar. 6, 2019). “It appears, however, that once a defendant has moved to dismiss based

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on improper venue, the majority of courts place the burden of establishing venue on the plaintiff.”

Lawson, 527 F. Supp. 3d at 896 (citations omitted); see also Sada v. Multimatic, Inc., No. 2:04-

CV-110 (DF), 2005 WL 8160773, at *3 (E.D. Tex. May 17, 2005) (“under the majority view, the

standard of review for Rule 12(b)(3) motions to dismiss requires that once a defendant has raised

the improper venue issue by motion, the burden of sustaining venue rests with the plaintiff”).

“Further, as at least one court has noted, ‘[t]his approach may be considered the better view

because it is consistent with the plaintiff's threshold obligation to show that the case belongs in the

particular district court in which suit has been instituted.’ ” Lawson, at 896, citing Broadway Nat'l

Bank v. Plano Encryption Techs., LLC, 173 F. Supp. 3d 469, 473 n.2 (W.D. Tex. 2016) (citing

14D Charles Alan Wright, et al., Federal Practice & Procedure § 3826 (4th ed. 2013)) (internal

quotation marks omitted); see also Nuttall v. Juarez, 984 F. Supp. 2d 637, 642 (N.D. Tex. 2013)

(same).

B.        Motion to Dismiss under Federal Rule 12(b)(1) and (6)

          A complaint must be dismissed if the court lacks subject matter jurisdiction over the

plaintiff's claim, FED. R. CIV. P. 12(b)(1), and if the plaintiff fails to state a claim upon which relief

may be granted, FED. R. CIV. P. 12(b)(6). Rule 12(b)(3) requires the dismissal of the case when

venue is “wrong” or “improper,” but the Court may choose to transfer the case in the interests of

justice under U.S.C. §1406(a).

          A motion to dismiss pursuant to Rule 12(b)(1) is analyzed under the same standard as a

motion to dismiss under rule 12(b)(6). See Home Builders Assoc. of Mississippi, Inc. v. City of

Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). To avoid dismissal, a plaintiff must plead sufficient

facts to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, (2007)). “A claim has facial
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plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. “We do not accept as true

conclusory allegations, unwarranted factual inferences, or legal conclusions.” Plotkin v. IP Axess

Inc., 407 F.3d 690, 696 (5th Cir.2005); see also Iqbal, 129 S.Ct. at 1950 (“While legal conclusions

can provide the framework of a complaint, they must be supported by factual allegations.”).

                                        III.
                              ARGUMENT AND AUTHORITIES

A.     Improper Venue

       28 U.S.C. §1391 establishes proper venue in federal courts. A civil action may be brought

in the district where the defendant resides, a district in which a substantial part of the events or

omissions giving rise to the claim occurred, or if neither applies, a judicial district which has

personal jurisdiction over the defendant. 28 U.S.C.A. § 1391. Here, Plaintiffs failed to meet their

burden to allege facts to demonstrate that proper venue is in the Eastern District of Texas, because

the proper venue is the Southern District of Texas.

       1. The Defendant, TEEX, resides in the Southern District of Texas

       Defendant TEEX is a part of the Texas A&M University System. See TEX. EDUC. CODE §

88.001(5). TEEX is located in the city of College Station in Brazos County (Doc. 1, ¶ 3), in the

Southern District of Texas. See Am. Traffic Sols., Inc. v. B&W Sensors LLC, No. 1:12-CV-504,

2013 WL 12138770, at *1 (E.D. Tex. Jan. 14, 2013) (TTI is part of Texas A&M University and is

located in College Station, Texas. College Station is in the Southern District of Texas”).

       2. A substantial part of the events or omissions giving rise to the claim occurred in
          the Southern District of Texas

       While each Regional Training Manager resides in his or her own region, the management

decisions which gave rise to the claims in this suit occurred in Brazos County. As a result, the vast
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majority of any records regarding employment decisions would be in the Southern District of

Texas. Moreover, one of the two plaintiffs (Ben Kennedy) resides in Brazos County, in the

Southern District of Texas. (Doc. 1, ¶ 2). Kennedy came into the office in College Station where

the decision to terminate his employment was communicated to him. (Doc. 1, ¶¶ 15-16). No

“substantial part” of this litigation occurred in the Eastern District of Texas.

B.     Plaintiffs’ claims are barred by the Eleventh Amendment

       “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (citing McDaniel v.

United States, 899 F.Supp. 305, 307 (E.D.Tex.1995)). “Accordingly, the plaintiff constantly bears

the burden of proof that jurisdiction does in fact exist.” Ramming, 281 F.3d at 161 (citing

Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir.1980)).

       It is well-settled that the Eleventh Amendment deprives a federal court of jurisdiction to

hear a suit against the State of Texas or any of its agencies (such as TEEX), regardless of the relief

sought, unless sovereign immunity is expressly waived.           Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 100-02 (1984). The Eleventh Amendment codified the sovereign

immunity of the states. Idaho v. Coeur d'Alene Tribe of Idaho, 521 U.S. 261, 267, 117 S.Ct. 2028,

138 L.Ed.2d 438 (1997).

       The Texas A&M Engineering Extension Service is clearly a state agency, as a component

institution of the Texas A&M University System. See TEX. EDUC. CODE § 88.001(5) (“The

agencies and services of the Texas A&M University System are…. (5) the Texas A&M

Engineering Extension Service, established by action of the board of directors”; and § 61.003(6)

(defining “other agency of higher education” to include, among others, the “Texas A&M

Engineering Extension Service”).       As such, TEEX enjoys the same Eleventh Amendment
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immunity as the State of Texas itself. See, e.g., Sullivan v. Texas A&M Univ. Sys., 986 F.3d 593,

595 (5th Cir.), cert. denied, 142 S. Ct. 216, 211 L. Ed. 2d 93 (2021) (“Texas A&M is an agency of

the State of Texas, so a suit against the former is a suit against the latter.”), citing Moore v. La. Bd.

Of Elementary & Secondary Educ., 743 F.3d 959, 963 (5th Cir. 2014).; see also Texas Eng'g

Extension Serv. v. Gifford, No. 10-11-00242-CV, 2012 WL 851742, at *4 (Tex. App. Mar. 14,

2012) (dismissing claims against TEEX because of sovereign immunity as a state agency).

        1.      FMLA Claims

        Plaintiffs’ FMLA claims involve their own medical conditions, rather than those of any

other person. (Doc. 1, ¶12, 15). Because of this, Plaintiffs’ claims fall under the self-care provision

of the FMLA. 29 U.S.C.§ 2612(a)(1)(D) (providing FMLA leave for Entitlement to leave

“(b)ecause of a serious health condition that makes the employee unable to perform the functions

of the position of such employee.”).

        Congress has not abrogated states’ sovereign immunity with respect to the self-care

provision of the FMLA, and “states may still assert an Eleventh Amendment immunity defense

against claims based on that provision.” Bryant v. Texas Dept. of Aging and Disability Services,

781 F. 3d 764, 769 (5th Cir. 2015), citing Nelson v. Univ. of Tex. at Dall., 535 F.3d 318, 321 (5th

Cir.2008); see also Alfred v. Harris County Hospital District, 666 Fed. Appx. 349 (5th Cir. 2016)

(holding “a State enjoys sovereign immunity from suit for an FMLA claim for retaliation based on

the self-care provision”), citing Coleman v. Court of Appeals of Md., 566 U.S. 30, 132 S.Ct. 1327,

1333, 182 L.Ed.2d 296 (2012). Because TEEX is immune from Plaintiff’s FMLA claims under

sovereign immunity via the Eleventh Amendment, those claims must be dismissed for lack of

subject matter jurisdiction as a matter of law, pursuant to FED. R. CIV. P. 12(b)(1).



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       2.      ADA Claims

       Plaintiffs bring employment claims that they allege violate the Americans with Disabilities

Act. (Doc. 1, ¶¶ 50-60). “Title I is the subchapter of the ADA that prohibits employment

discrimination.” Flynn v. Distinctive Home Care, Inc., 812 F.3d 422, 426 (5th Cir. 2016). It has

long been established that, as a matter of law, the Eleventh Amendment bars claims against a state

or its officials brought pursuant to Title I of the ADA. Board of Trustees of Univ. of Ala. v. Garrett,

531 U.S. 356, 374 (2001) (holding that title I of the ADA did not validly abrogate state sovereign

immunity pursuant to Section Five of the Fourteenth Amendment); see also Perez v. Region 20

Educ. Serv. Ctr., 307 F.3d 318, 332 & n. 7 (5th Cir.2002) (same). It is undisputed that Plaintiffs

bring allegations of employment discrimination and retaliation against their former employer the

Texas A&M Engineering Extension Service. (Doc. 1 ¶¶ 16, 25, 53, 56). TEEX is a member of

the Texas A&M University System, an arm of the State of Texas, enjoying immunity under the

Eleventh Amendment. As a result, the Eleventh Amendment bars Plaintiffs’ ADA claims.

       3.      ADEA Claims

       Similarly, “neither Congress nor Texas have waived Texas's sovereign immunity from

ADEA claims.” Chhim v. Univ. of Tex. at Austin, 836 F.3d 467, 469 (5th Cir. 2016), citing Sullivan

v. Univ. of Tex. Health Sci. Ctr. at Hous. Dental Branch, 217 Fed.Appx. 391, 395 (5th Cir. 2007);

see also Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 91, 120 S.Ct. 631, 145 L.Ed.2d 522 (2000)

(“[I]n the ADEA, Congress did not validly abrogate the States’ sovereign immunity to suits by

private individuals”).

       D.      Claims under the Texas Labor Code

       Finally, Plaintiffs bring claims of age and disability discrimination under Chapter 21 of the

Texas Labor Code. (Doc. 1, ¶¶ 71-95). Chapter 21 of the Texas Labor Code was formerly known
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as the Texas Commission on Human Rights Act (the “TCHRA”). See Reed v. Neopost USA, Inc.,

701 F.3d 434, 437 (5th Cir. 2012). Plaintiffs may not bring these claims in federal court.

       “[A]lthough the TCHRA waives Texas’s immunity from suits in state court, it does not do

so in federal court.” Pequeno v. Univ. of Texas at Brownsville, 718 F. App'x 237, 241 (5th Cir.

2018), citing Perez v. Region 20 Educ. Serv. Ctr., 307 F.3d 318, 332 (5th Cir. 2002); Sullivan v.

Univ. of Tex. Health Sci. Ctr. at Hous. Dental Branch, 217 Fed.Appx. at 394 (holding that none of

the discrimination provisions of the Texas Labor Code [§§ 21.005, 21.201(a), 21.100, 21.204(b),

and 21.211] contains the requisite “clear declaration” of consent by Texas to be sued); see also

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. at 120; Jackson v. Texas S. Univ., 997

F.Supp.2d 613, 624, 625 (S.D.Tex.2014).

B.     Plaintiffs Fail to State a Claim for Which Relief May Be Granted

       Plaintiffs do not state a claim against TEEX for which relief may be granted. In this

instance, Plaintiffs’ allegations are purely conclusory and inadequate “to raise a right to relief

above the speculative level.” Iqbal, 129 S.Ct. at 1949. Accordingly, their claims must be

dismissed, pursuant to FED. R. CIV. P. 12(b)(6).

       1.      FMLA Claims

       Plaintiffs have not alleged any facts to support a prima facie case against TEEX under

either an FMLA interference or a retaliation theory of liability. Because Plaintiffs do not allege

facts to support a prima facie claim under either theory, because of this, Plaintiffs FMLA claims

should be dismissed, pursuant to FED. R. CIV. P. 12(b)(6).

               a. Interference

       To the extent that Plaintiffs intended to bring an interference claim, such a claim must be

dismissed for failure to state a claim on which relief can be granted. “To establish a prima facie
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interference case, a plaintiffs must show that (1) they were eligible employees, (2) the defendant

was an employer subject to the FMLA's requirements, (3) Plaintiffs were entitled to leave, (4)

They gave proper notice of her intention to take FMLA leave, and (5) the defendant denied them

the benefits to which she was entitled under the FMLA.” Lanier v. Univ. of Texas Sw. Med. Ctr.,

527 Fed.Appx. 312, 316 (5th Cir. 2013) (unpublished) (citing Donald v. Sybra, Inc., 667 F.3d 757,

761 (6th Cir. 2012)); Jones v. Children's Hosp., 58 F. Supp. 3d 656, 668 (E.D. La. 2014).

       Plaintiffs have not identified facts from which this Court could conclude that they were

denied FMLA benefits. Instead, Plaintiffs judicially admit that they were granted leave, and one

had completed his leave. (Doc. 1, ¶ 23). Plaintiffs make the conclusory assertion that they “were

subject to harassment while on medical leave”,” but identify no specific factual allegations from

which the court could reach that conclusion. (Doc. 1, ¶ 24). The lawsuit is wholly silent as to

what actions the Plaintiffs consider “harassment.” (Doc. 1). At most, according to the Complaint,

Kennedy received a single phone call while working from home. (Doc. 1, ¶ 15, 24). Courts are

clear that not all contact made from an employer to an employee during medical leave constitutes

harassment. (“[A] limited number of phone calls cannot reasonably be considered as interfering

with an employee's FMLA leave, and there was thus no violation of a clearly established right.”

Bryant v. Texas Dep't of Aging & Disability Servs., 781 F.3d 764, 770 (5th Cir. 2015)).

               b. Retaliation

       To establish a prima facie case for FMLA retaliation, Plaintiffs King and Kennedy must

show that (1) they were protected under the FMLA, (2) they suffered an adverse employment

action, and (3) they were either was treated less favorably than a similarly situated employee who

had not requested leave, or the adverse decision was made because they took FMLA leave.”

Lanier, 527 Fed. Appx. at 317, citing Hunt v. Rapides Healthcare Sys., LLC, 277 F.3d 757, 768
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(5th Cir. 2001). In other words, “there is a causal link between the protected activity and the

discharge.” Richardson v. Monitronics Intern., Inc., 434 F.3d 327, 332 (5th Cir. 2005) (internal

quotations, citations omitted); see also 29 U.S.C. § 2615(a)(2). Here, Plaintiffs have not identified

facts which suggest a causal link between their lay-offs and their FMLA leave. While they have

identified other Regional Training Managers (Doc. 1, ¶ 21), they fail to allege any facts which

suggest that Plaintiffs were treated less favorably than these individuals BECAUSE of taking

FMLA leave. Moreover, Plaintiffs admit that all of this occurred during the COVID-19 pandemic

(Doc. 1, § 13) during which TEEX underwent a Reduction in Force (RIF). (Doc. 1, § 16).

       2. ADA Claims

       Plaintiffs have not alleged any facts to support a prima facie case against TEEX under

either an ADA discrimination or a retaliation theory of liability. Further, Plaintiff’s pleadings

demonstrate that they cannot prove a prima facie claim. Accordingly, Plaintiff’s claims arising

under the ADA should be dismissed, pursuant to FED. R. CIV. P. 12(b)(6).

               a. Discrimination

       To establish a prima facie case of ADA discrimination, a plaintiff must show “(1) that he

has a disability; (2) that he was qualified for the job; [and] (3) that he was subject to an adverse

employment decision on account of his disability.” E.E.O.C. v. LHC Group, Inc., 773 F.3d 688,

697 (5th Cir. 2014). To establish that a plaintiff is qualified for a job, the plaintiff must show he

could either perform the “essential functions” of the job in spite of the disability or that “a

reasonable accommodation” of the disability would have enabled the plaintiff to perform the

essential functions of the job. Id.

       The term “essential functions” means the fundamental job duties of the employment

position; and consideration must be given to the employer’s judgment of what functions of a job
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are essential. 42 U.S.C. § 12111(8); 29 C.F.R. § 1630.2(n)(1). An employee who is unable to

perform the essential functions of her job due to her medical condition is not a “qualified individual

with a disability.” See, e.g., Cooper v. Dallas Police Ass'n, 278 F. App'x 318, 321 (5th Cir. 2008).

“[T]he ADA does not relieve a disabled employee or applicant from the obligation to perform the

essential functions of the job. To the contrary, the ADA is intended to enable disabled persons to

compete in the workplace based on the same performance standards and requirements that

employers expect of persons who are not disabled.” Foreman v. Babcock & Wilcox Co., 117 F.3d

800, 808 (5th Cir.1997), cert. denied, 522 U.S. 1115, 118 S.Ct. 1050, 140 L.Ed.2d 113 (1998)

(quoting 29 C.F.R. § 1630, App. Background (1996)).

       Here, Plaintiffs claim to have been terminated based on disability or perceived disability.

However, they fail to allege facts sufficient to conclude either has a disability as defined in Title I

of the ADA. Because Plaintiffs have failed to allege that they have physical or mental impairments

that substantially limit one or more major life activities, it necessarily precludes the conclusion

that they were discriminated against for unalleged disabilities. While both plaintiffs took medical

leave, it is not alleged why such medical leave would result in a disability or a perceived disability.

       Further, the plaintiff bears the burden of suggesting a reasonable accommodation to his

employer. Harville v. Texas A&M Univ., 833 F. Supp. 2d 645, 660-61 (S.D. Tex. 2011), citing

Taylor v. Principal Financial Group, 93 F.3d 155, 165-66 (5th Cir. 1996). The ADA does not

require an employer to eliminate or reallocate essential functions of a position in order to provide

accommodation. See Bradley v. Univ. of Tex. M.D. Anderson Cancer Ctr., 3 F.3d 922, 925 (5th

Cir.1993). “An accommodation that does not permit an employee to perform essential job

functions cannot be considered reasonable.” Cortez v. Raytheon Co., 663 F.Supp.2d 514, 522

(N.D. Tex. 2009).
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        Plaintiffs’ pleadings conclusively prove that they were given accommodations and were

performing their jobs. Kennedy was allowed to work from home while recovering from surgery.

(Doc. 1, § 15). Additionally, Kennedy was excused from deployment with first responders because

of his medical risk category. (Doc. 1, §§ 17-18). King requested and received medical leaves of

absence. (Doc. 1, § 12). King was also excused from travel requirements because of his medical

risk category. (Doc. 1, § 13). King and Kennedy sought and received accommodations at least

six months (at least as early as March 2020) before the RIF was communicated to them (in

September of 2020. (Doc. 1, §§ 13, 17-18, 11, and 16). Plaintiffs do not allege that they sought

and were denied any accommodation. Again, Plaintiffs fail to state a prima facie case of ADA

discrimination.

                b. Retaliation

        To show an unlawful retaliation, a plaintiff must establish a prima facie case of (1)

engagement in an activity protected by the ADA, (2) an adverse employment action, and (3) a

causal connection between the protected act and the adverse action. Seaman v. CSPH, Inc., 179

F.3d 297, 301 (5th Cir. 1999).

        Protected activity under the ADA is commonly a request for accommodation. (“It is

undisputed that making a request for a reasonable accommodation under the ADA may constitute

engaging in a protected activity. Tabatchnik v. Cont'l Airlines, 262 F. App'x 674, 676 (5th Cir.

2008) (internal citations omitted). Plaintiffs’ protected activity is not specified, but it is clear they

were accommodated for at least six months before the RIF. (Doc. 1, §§ 13, 17-18, 11, and 16).

There is no temporal proximity to suggest that there was any connection between the request for

accommodation and the termination of employment. Cases accepting temporal proximity between

an employer's knowledge of the protected activity and an adverse employment action as sufficient
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evidence uniformly hold that the temporal proximity must be “very close.” See Clark County Sch.

Dist. v. Breeden, 532 U.S. 268, 273-74, 121 S.Ct. 1508, 149 L.Ed.2d 509 (2001) (holding that

temporal proximity must be “very close”); see also Richmond v. ONEOK, Inc., 120 F.3d 205, 209

(C.A.10 1997) (3–month period insufficient); Hughes v. Derwinski, 967 F.2d 1168, 1174–1175

(C.A.7 1992) (4–month period insufficient). If 3-4 months are insufficiently close, then the (at

minimum) six months between Plaintiffs seeking accommodations and their termination are too

remote, as a matter of law, to support causation.

       In the event that Plaintiffs later suggest that their protected activity was the filing of charges

of discrimination with the EEOC, that also cannot form the basis of a retaliation claim in this case.

Plaintiffs filed their EEOC claims after the received termination letters, ruling out the possibility

that the termination was retaliation for the EEOC complaint. (Doc. 1, ¶¶ 59-60). Plaintiffs have

failed to state a claim upon which relief can be granted.

       3. ADEA claims

       To establish a prima facie case of age discrimination under the ADEA, a plaintiff must

prove four elements: (1) he is a member of a protected class; (2) he was qualified for the position

that he held; (3) he was discharged; and (4) after his discharge was replaced with a person who is

not a member of the protected class. Tiemeyer v. Quality Pub., Inc., 144 F. Supp. 2d 727, 732 (S.D.

Tex. 2001) quoting Brown v. Bunge Corp., 207 F.3d 776, 781 (5th Cir.2000). In other words, an

ADEA plaintiff must show that his age was the but-for cause of his or her employer’s adverse

action. Salazar v. Lubbock Cnty. Hosp. Dist., 982 F.3d 386, 389 (5th Cir. 2020) (citation omitted).

       Here, Plaintiffs cannot prove a prima facie case of discrimination as neither King nor

Kennedy allege that they were replaced. Moreover, they cannot succeed in demonstrating age as a



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“but-for causation” because even Plaintiffs do not believe that, having also alleges that they were

terminated based on disabilities or FMLA leave.

       4. Claims under the Texas Labor Code

       For the reasons proffered supra, Plaintiffs fail to state a claim under the Texas Labor Code

for which relief can be granted.

                                             IV.
                                         CONCLUSION

       This Court should dismiss Plaintiff’s lawsuit as described hereinabove. IF this case is not

dismissed based on improper venue, then it should be transferred the Southern District of Texas.

The Texas A&M Engineering Extension Service has immunity from Plaintiffs’ claims and

Plaintiffs have failed to state a claim on which relief may be granted. Defendant the Texas A&M

Engineering Extension Service prays that Plaintiffs take nothing by their suit.

                                                 Respectfully submitted,

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                                              ATTORNEYS FOR THE TEXAS A&M ENGINEERING
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                              CERTIFICATE OF SERVICE

       I certify that a copy of the above Defendant’s Motion to Dismiss was served on the 24th
day of January, 2022, upon all parties via the EF/CFM system:

                                                  /s/ Scot M. Graydon
                                                  SCOT M. GRAYDON
                                                  Assistant Attorney General




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